       Case 1:12-cv-03419-GBD-HBP Document 451 Filed 04/08/15 Page 1 of 1




                                                                                                     :   )




                                    Plaintiff,
                                                                            ORDER
                  -against-                                                                 ]'   .
                                                                      12 Civ. 03419 (GBD) :ft'

MIZUHO CORPORA TE BANK, LTD., et al.,

                                    Defendants.


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GEORGE B. DANIELS, United States District Judge:

        The stay of document discovery is extended until May 15, 2015. Document discovery

shall commence on May 15, 2015.

        A status conference is scheduled for September 10, 2015 at 11 :00 AM.


Dated: New York, New York
       April 8, 2015


                                                                    RDERED:

                                                                         ·~j].J)(}'a~
                                                                         . DANIELS
